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                                  UNITED STATES DISTRICT COURT
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                           FOR THE EASTERN DISTRICT OF CALIFORNIA
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9    UNITED STATES OF AMERICA,                              1:16-cr-00069-LJO-SKO-11
10                          Plaintiff,                      ORDER REGARDING DEFENDANT
                                                            MARKEITH CANADY’S MOTION TO
11                    v.                                    SEVER (Doc. 306) AND MOTION FOR
                                                            DISCOVERY SANCTIONS (Doc. 307)
12 MARKEITH CANADAY, et al.,

13                          Defendants.
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16          The Court notes that there are two pending motions filed by Defendant Canady:

17                 1. A Motion to Sever brought under Fed. R. Crim. Pro. 8(b) and 14 (Doc. 306); and

18                 2. A Motion for Discovery Sanctions (Doc. 307).

19          Regarding the Motion to Sever, clearly and obviously if this Defendant should not be a part of

20 the trial set in January, 2018, the Government, the moving Defendant, all other named defendants, and

21 the Court should know sooner than later. The Court is therefore requesting the Government to respond

22 to this pending motion sooner than later, and not wait until August (when the response would ordinarily

23 be due for a September 11 hearing).

24          Concerning the Motion for Discovery Sanctions, the Court is trying to preclude a situation where

25 we wait until less than 4 months before trial to determine whether or not key pieces of evidence will in

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1    fact be allowed. The Court therefore is requesting from the Government at least an interim statement of

2    whether the requested evidence exists, and if so, whether it has been produced, and finally, if not, why

3    not. The Court requests that interim statement to be filed on or before June 19, 2017.

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5    IT IS SO ORDERED.

6       Dated:     May 19, 2017                              /s/ Lawrence J. O’Neill _____
                                                  UNITED STATES CHIEF DISTRICT JUDGE
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